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                      UNITED STATES DISTRICT COURT FOR THE
                           SOUTHERN DISTRICT OF TEXAS
                                HOUSTON DIVISION



 In re RCI Hospitality Holdings, Inc.                 Master File No. 4:19-cv-01841-AHB
 Securities Litigation




DECLARATION OF KARA M. WOLKE IN SUPPORT OF PLAINTIFFS’ UNOPPOSED
MOTION FOR: (I) PRELIMINARY APPROVAL OF CLASS ACTION SETTLEMENT;
 (II) CERTIFICATION OF THE SETTLEMENT CLASS; AND (III) APPROVAL OF
                     NOTICE OF THE SETTLEMENT

       I, Kara M. Wolke, pursuant to 28 U.S.C. § 1746, hereby declare and state as follows:

       1.      I am an attorney duly licensed to practice law before all of the courts of the State

of California and I am admitted pro hac vice in the above captioned action (the “Action”). I am

a partner in the law firm of Glancy Prongay & Murray LLP, the Court-appointed Co-Lead

Counsel in the Action. I make this declaration in support of Plaintiffs’ Unopposed Motion for:

(I) Preliminary Approval of Class Action Settlement; (II) Certification of the Settlement Class;

and (III) Approval of the Notice of Settlement. I have personal knowledge of the matters stated

herein, and if called upon, I could and would competently testify thereto.

       2.      Attached as Exhibit 1 is a true and correct copy of the Stipulation and Agreement

of Settlement executed by the parties, dated April 14, 2022 (the “Stipulation”).

       3.      Attached as Exhibit A to the Stipulation is a true and correct copy of the proposed

Unopposed Order Preliminarily Approving Settlement and Providing for Notice.

       4.      Attached as Exhibit A-1 to the Stipulation is a true and correct copy of the Notice

of (I) Pendency of Class Action, Certification of Settlement Class, and Proposed Settlement; (II)
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Settlement Fairness Hearing; and (III) Motion for an Award of Attorneys’ Fees and

Reimbursement of Litigation Expenses.

       5.     Attached as Exhibit A-2 to the Stipulation is a true and correct copy of the Proof

of Claim and Release Form.

       6.     Attached as Exhibit A-3 to the Stipulation is a true and correct copy of the

Summary Notice of (I) Pendency of Class Action, Certification of Settlement Class, and

Proposed Settlement; (II) Settlement Fairness Hearing; and (III) Motion for an Award of

Attorneys’ Fees and Reimbursement of Litigation Expenses.

       7.     Attached as Exhibit A-4 to the Stipulation is a true and correct copy of the

Postcard Notice of (I) Pendency of Class Action, Certification of Settlement Class, and Proposed

Settlement; (II) Settlement Fairness Hearing; and (III) Motion for an Award of Attorneys’ Fees

and Reimbursement of Litigation Expenses.

       8.     Attached as Exhibit B to the Stipulation is a true and correct copy of the Judgment

Approving Class Action Settlement.

       9.     Attached as Exhibit 2 is a true and correct copy of the resume of Glancy Prongay

& Murray LLP.

       10.    Attached as Exhibit 3 is a true and correct copy of the resume of The Rosen Law

Firm, P.A.

       11.    Attached as Exhibit 4 is a true and correct copy of excerpts from Janeen McIntosh

and Svetlana Starykh, Recent Trends in Securities Class Action Litigation: 2021 Full-Year

Review (NERA Jan. 25, 2022).

       12.    Attached as Exhibit 5 is a true and correct copy of the settlement experience of

Strategic Claims Services.
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       I declare under penalty of perjury under the laws of the United States of America that the

foregoing is true and correct.

       Executed on this, the 15th day of April 15, 2022, at Los Angeles, California.


                                                    /s/ Kara M. Wolke
                                                    Kara M. Wolke




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                                CERTIFICATE OF SERVICE

       I certify that on April 15, 2022, a copy of this document was served on all counsel of

record by operation of the Court’s electronic filing system.

                                                     s/ Kara M. Wolke
                                                     Kara M. Wolke
